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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

BOARDS OF TRUSTEES OF                        * Case No. 2:19-cv-5345
THE OHIO LABORERS’ FRINGE
BENEFIT PROGRAMS,                            *
       Plaintiffs,
                                             *
v.
                                             *
                                                 COMPLAINT
GM GENERAL CONTRACTING LLC,
                                             *
      Defendant.
                                             *

                                             *

          Plaintiffs Boards of Trustees of the Ohio Laborers’ Fringe Benefit Programs, by and

through undersigned counsel, state their Complaint as follows:

                                 PRELIMINARY STATEMENT

          Plaintiffs bring this action seeking equitable relief, monetary relief, costs, and

attorneys’ fees. Specifically, Plaintiffs seek an audit of Defendant’s financial records from

April 2019 until present, which Defendant has refused to date. Moreover, Plaintiffs seek,

upon completion of the audit, delinquent contributions, liquidated damages, and interest

attributable to delinquent contributions pursuant to the terms of governing plan documents.

Finally, Plaintiffs seek orders from this Court (1) enjoining Defendant from further breaching

the terms of the plan documents and violating ERISA and (2) enforcing the terms of the plan

documents and ERISA.

                                  JURISDICTION AND VENUE

1.        This Court has jurisdiction over the subject matter of this action pursuant to 28

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U.S.C. § 1331, 29 U.S.C. § 185, and 29 U.S.C. § 1132(e).

2.       Venue is proper in this Court under 28 U.S.C. § 1391(b) because a substantial part of

the events or omissions giving rise to the claim occurred in Franklin County, Ohio and

under 29 U.S.C. § 1132(e)(2) because the plans are administered in Franklin County, Ohio.

3.       Under 29 U.S.C. § 1132(h), a copy of this Complaint has been served upon the

Secretary of Labor and the Secretary of the Treasury by certified mail.

                                           PARTIES

4.       Plaintiffs are the fiduciaries of three employee benefit plans—the Ohio Laborers’

District Council – Ohio Contractors’ Association Insurance Fund, the Laborers’ District

Council and Contractors’ Pension Fund of Ohio, the Ohio Laborers’ Training and

Apprenticeship Trust Fund—and one labor-management cooperative trust known as Ohio

Laborers’ District Council – Ohio Contractors’ Association Cooperation and Education

Trust. The plans collectively are known as the “Ohio Laborers’ Fringe Benefit Programs,”

and maintain their principal office and place of business at 800 Hillsdowne Road,

Westerville, Ohio 43081. The plans also are obligated pursuant to collective bargaining

agreements to collect contributions to the LIUNA Tri-Funds, three national labor-

management cooperative trusts.

5.       Defendant GM General Contracting LLC (“Defendant”) is an Ohio limited liability

company that maintains its principal place of business in Licking County, Ohio. Defendant

is an “employer” in “commerce” or “affecting commerce” within the meaning of 29 U.S.C. §

1002(5), 29 U.S.C. § 1002(1), and 29 U.S.C. § 1002(12), and within the meaning of 29 U.S.C.

§ 152(2), 29 U.S.C. § 152(5), and 29 U.S.C. § 152(7).




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                                    FACTUAL BACKGROUND

6.        The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

7.        Defendant, the Ohio Laborers’ District Council, and its affiliated Local 423 are

signatory to the 2019 – 2022 Heavy Highway Agreement (“CBA”).

8.        Defendant was at all times relevant bound to the Agreements and Declarations of

Trust establishing the Ohio Laborers’ Fringe Benefit Programs and the LIUNA Tri-Funds by

virtue of executing the CBA.

9.        All of those referenced documents obligated Defendant to file monthly contribution

reports, permit audits of its financial records, and make hourly contributions to the Ohio

Laborers’ Fringe Benefit Programs on behalf of all persons as defined in the aforesaid

collective bargaining agreement.

10.       The CBA, the Agreements and Declarations of Trust, and the rules and regulations

promulgated by the Boards of Trustees for the Ohio Laborers’ Fringe Benefit Programs

authorize Plaintiffs to conduct an audit of financial records, collect delinquent

contributions, and assess and collect liquidated damages where an employer like

Defendant fails to timely remit required contributions and deductions.

11.       Defendant has refused to permit Plaintiffs’ auditors access to Defendant’s financial

records from April 2019 to present.

12.       Plaintiffs’ auditors have demanded access to Defendant’s financial records in order

to perform an audit.

13.       To date, Defendant has not permitted Plaintiffs’ auditors access to Defendant’s

financial records.


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                                   FIRST CLAIM FOR RELIEF
                          (Breach of Collective Bargaining Agreement)

14.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

15.       Pursuant to the terms of the CBA, Defendant was required to remit contributions to

Plaintiffs and to permit access to its financial records.

16.       As such, Plaintiffs are intended third-party beneficiaries entitled to enforce the terms

of the CBA.

17.       Defendant’s failure to permit access to financial records and its failure to remit

timely payment on the delinquent contributions and deductions, the liquidated damages,

and interest assessed by Plaintiffs constitute a breach of the CBA and a violation of 29 U.S.C.

§ 185.

18.       As a direct and proximate result of Defendant’s breach of the CBAs, Plaintiffs have

suffered damages in an amount to be determined after an audit and at trial.

                                   SECOND CLAIM FOR RELIEF
                                           (ERISA)

19.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

20.       Defendant’s failure and refusal to permit access to its financial records and to make

said payments under the CBA constitutes a violation of 29 U.S.C. § 1145.

21.       Defendant’s violation of 29 U.S.C. § 1145 has damaged Plaintiffs.

22.       Plaintiffs therefore seek and are entitled to access to Defendant’s financial records; any

unpaid contributions discovered as a result of the audit; interest and penalties due and owing




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on unpaid contributions; and the costs involved in bringing this action, including attorneys'

fees and expenses pursuant to 29 U.S.C. § 1132(g).

                                   THIRD CLAIM FOR RELIEF
                                      (Injunctive Relief)

23.       The allegations above are incorporated specifically by reference as if fully re-alleged

herein.

24.       In failing to permit access to its financial records and to pay contributions due and

owing under the CBA, Defendant breached the terms of the governing documents of the Ohio

Laborers’ Fringe Benefit Programs and violated 29 U.S.C. § 1145.

25.       Plaintiffs therefore seek, pursuant to 29 U.S.C. §§ 1132(a)(3)(A) and (B) an Order from

this Court (1) ordering Defendant to provide Plaintiffs access to Defendant’s financial

records, (2) enjoining Defendant from further breaching the terms of the governing

documents of the Ohio Laborers’ Fringe Benefit Programs and violating ERISA, (3) ordering

Defendant to submit monthly contribution reports to Plaintiffs, and (4) enforcing the

governing documents of the Ohio Laborers’ Fringe Benefit Programs and ERISA.

                                      DEMAND FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment as follows:

          A.     That this Court enter an Order requiring Defendant to provide Plaintiffs with

access to Defendant’s financial records from April 2019 until present;

          B.     That this Court enter an Order that Defendant’s failure to remit timely

required contributions and deductions constitutes a violation of 29 U.S.C. § 1145;

          C.     That this Court enter an Order that Defendant’s failure to timely remit

required contributions and deductions is a breach of the CBA and constitutes a violation of


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29 U.S. C. § 185;

       D.      That this Court enter an Order requiring Defendant to pay to Plaintiffs the

current amount of delinquent contributions, liquidated damages, and interest owed as a

result of the untimely remittances discovered by virtue of the audit;

       E.      That this Court enter an Order pursuant to 29 U.S.C. § 1132(g) requiring

Defendant to pay the costs of this action, including reasonable attorneys’ fees and

expenses; and

       F.      That this Court award any and all other relief deemed appropriate.

                                   Respectfully submitted,

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